      Case 2:15-cr-00144-SMJ     ECF No. 385    filed 05/18/16   PageID.1250 Page 1 of 1




 1
                           UNITED STATES DISTRICT COURT
 2
                        EASTERN DISTRICT OF WASHINGTON
 3
 4
     UNITED STATES OF AMERICA,                      No. 2:15-CR-144-SMJ-6
 5
 6                      Plaintiff,                  ORDER DENYING WITH LEAVE
                                                    TO RENEW MOTION TO TRAVEL
 7 vs.
 8
   JOSHUA M. TERPSTRA,
 9
10                      Defendant.
11         Before the Court is Defendant’s Motion to Allow Work-Related Travel, ECF
12   No. 383. In his Declaration, defense counsel states the United States has no
13   objection to Pretrial Services authorizing travel for work-related purposes, and that
14   Defendant’s supervising Pretrial Services Officer “agrees with the request.”
15         Defendant’s Motion, ECF No. 383, is DENIED with leave to renew. In
16   Defendant’s renewed motion, he should give the name of the current employer or
17   whether he is self-employed, the nature of the work Defendant performs, and some
18   indication of the scope of the request. Information regarding the frequency of
19   travel, the duration of travel, the travel destination(s), and how far in advance the
20   travel is scheduled would assist the Court in making an informed ruling.
21         IT IS SO ORDERED.
22         DATED May 18, 2016.
23
24                                   _____________________________________
                                               JOHN T. RODGERS
25                                    UNITED STATES MAGISTRATE JUDGE
26
27
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     ORDER - 1
